AO 2450 (WDNC Rev. 4/04) Judgment in a Crimina| Case for Revocation

UN|TED STATES DlSTRICT COURT
FOR THE WESTERN DlSTRlCT OF NORTH CAROL|NA

UN|TED STATES OF AlVlER|CA JUDG|V|ENT lN A CR|N|INAL CASE
(For Revocation of Probation'or Supervised Reiease)
V. (For Offense_s Committed On or After November 1, 1987)
mo
wiLLiAivl 130sz ease Number: 1:990R117 AsuEvlLl-E. N-¢`»
US|Vl Number: 15721-058
' AUG 31 2006
Fredi|yn Sison
Defendant’s Attorney u's",',_°\§frs-§Igw

THE DEFENDANT:

admitted guilt to violation of condition(s) 2 & 3 of the term of supervision.

_2$_
"2(__ was found in violation of condition(s) count(s) tafter denial of guilty, and x2 & 3.

ACCORD|NGLY, the court has adjudicated that the defendant is guilty of the following violations(s):

Date Violation

Vio|ation Number Nature of Violation Concluded
1 New Law Vio|ation 6!17/06

2 Other 611 7106

3 Fail to submit monthly supervision reports 615/06

The Defendant is sentenced as provided in pages 2 through 2 of this judgment The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

The Defendant has not violated condition(s) And is discharged as such to such violation(s) condition

IT lS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. lf ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendants economic circumstances

Date of lmposition of Sentence: August 9, 2006

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Lacy H. Thornburg
United States District Judge

Date:' g" .7/" 06

 

 

 

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Defendant: W!LL|AN| DOVVNS Judgment-Page _2_ of g
Case Number: 1:99cr`117

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of T||V|E SERVED.

The Court makes the following recommendations to the Bureau of Prisons:
The Defendant is remanded to the custody of the United States lVlarsha|.
The Defendant shall surrender to the United States lVlarshal for this District:
As notified by the United States lVlarsha|.

__ Atma.m. / p.m. on __
The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
`As notified by the United States Nlarshal.
Before 2 p.m. on _.
As notified by the Probation Oche.

RETURN

| have executed this Judgment as follows:

 

 

 

 

Defendant delivered on to n at
. with a certified copy of this Judgment.

 

By:

 

Deputy lVlarshal

 

 

